Case 3:18-cv-00645-REP Document 16 Filed 02/22/19 Page 1 of 11 PageID# 137




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division


 STEPHEN C. GRATZ                               )
                                                )
        Plaintiff,                              )
                                                )
 v.                                             )             Case No. 3:18-cv-645-REP
                                                )
                                                )
 DIANE GRATZ a/k/a                              )
      DIANA GRATZ                               )
                                                )
        Defendant.                              )
                                                )


             MEMORANDUM IN OPPOSITION TO
             DEFENDANT’S MOTION TO DISMISS
        Plaintiff, Stephen C. Gratz (“Steve”), by counsel, pursuant to Local Civil Rule

 7(F), respectfully submits the following Memorandum in Opposition to the motion to

 dismiss [ECF No. 12] filed by defendant, Diane Gratz (“Diane”).

                                    I. INTRODUCTION

        On September 21, 2018, Steve commenced this action by filing a three-count

 complaint against Diane for tortious interference with contract, business conspiracy and

 common law conspiracy. [ECF No. 1].            On January 22, 2019, Steve amended his

 complaint. Steve alleges that between 2008 and 2014, Diane intentionally interfered with

 and induced George Otto Gratz (“George”) to breach certain written and unwritten

 contracts relating to an apartment building business located in Richmond, Virginia,

 causing Steve damage. [ECF No. 9 (“Amended Complaint”), ¶¶ 2, 10, 12, 16, 20, 21,

 23, 25, 26, 27, 28, 30, 31, 34, 35, 36, 38, 39, 40].



                                                1
Case 3:18-cv-00645-REP Document 16 Filed 02/22/19 Page 2 of 11 PageID# 138




           On February 8, 2019, Diane filed an answer and motion to dismiss Steve’s

 complaint for lack of personal jurisdiction. [ECF Nos. 12, 14].

           This matter is before the Court on Diane’s motion to dismiss pursuant to Rule

 12(b)(2) of the Federal Rules of Civil Procedure (the “Rules”). Diane’s motion should be

 denied.

                      II. PRINCIPLES OF LAW AND ARGUMENT

 A.        Diane Is Subject To Personal Jurisdiction in Virginia

           Once a defendant has challenged the existence of personal jurisdiction, the

 plaintiff bears the burden of demonstrating jurisdiction. Mylan Labs. Inc. v. Akzo. N.V., 2

 F.3d 56, 59-60 (4th Cir. 1993). Where, as here, the Court addresses the question on the

 basis only of motion papers, supporting legal memoranda, and the relevant allegations of

 a complaint, the burden on the plaintiff is simply to make a prima face showing of a

 sufficient jurisdictional basis to survive the challenge. New Wellington Fin. Corp. v.

 Flagship Resort Dev. Co., 416 F.3d 290, 294 (4th Cir. 2005) (citations and quotations

 omitted).     Under such circumstances, the Court must construe all relevant pleading

 allegations in the light most favorable to the plaintiff, assume credibility, and draw the

 most favorable inferences for the existence of jurisdiction. Id. (citations and quotations

 omitted). “If a plaintiff makes the requisite showing, the defendant then bears the burden

 of presenting a ‘compelling case,’ that, for other reasons, the exercise of jurisdiction

 would be so unfair as to violate due process.” Reynolds Foil, Inc. v. Pai, 2010 WL

 1225620, at *1 (E.D. Va. 2010) (quoting Burger King v. Rudzewicz, 471 U.S. 462, 477-

 78 (1985)).




                                              2
Case 3:18-cv-00645-REP Document 16 Filed 02/22/19 Page 3 of 11 PageID# 139




        In order for a Court to exercise personal jurisdiction over a defendant, the exercise

 of that jurisdiction must both be authorized by state law and comport with the Due

 Process Clause of the Fourteenth Amendment. Id.           The exercise of jurisdiction in

 Virginia is governed by the Commonwealth’s long-arm statute (Va. Code § 8.01-328.1), 1

 which has been held to extend personal jurisdiction to the full extent permitted by Due

 Process. Id.; Roche v. Worldwide Media, Inc., 90 F. Supp. 2d 714, 716 (E.D. Va. 2000).

 Since Virginia’s long-arm statute is co-extensive with the strictures of Due Process,

 Courts collapse the two-part analysis into one inquiry. Young v. New Haven Advocate,

 315 F.3d 256, 261 (4th Cir. 2002) (“Because Virginia’s long-arm statute extends personal

 jurisdiction to the extent permitted by the Due Process Clause, ‘the statutory inquiry

 necessarily merges with the constitutional inquiry, and the two inquiries essentially

 become one.’”) (quoting Stover v. O’Connell Assocs., Inc., 84 F.3d 132, 135-36 (4th Cir.

 1996)); see Reynolds Metals Co. v. FMALI, Inc., 862 F. Supp. 1496, 1498 (E.D. Va.

 1994) (citing Peanut Corp. of America v. Hollywood Brands, Inc., 696 F.2d 311, 313 (4th

 Cir. 1981)).

        Diane concedes in her answer [ECF No. 14 (“Answer”)] that she owns real and

 personal property in Virginia and that she transacted business in Virginia during the

 relevant time frame and today. Accordingly, the inquiry becomes whether Diane and her

        1
                 Virginia’s long-arm statute permits the Court to exercise personal
 jurisdiction over non-residents, like Diane, who act directly or by an agent as to a cause
 of action arising from the person’s (1) transacting “any” business in Virginia, (2) causing
 tortious injury by an act or omission in the Commonwealth, or (3) causing tortious injury
 in the Commonwealth by an act or omission outside the Commonwealth “if [they]
 regularly [do] … business, or engage[] in any other persistent course of conduct”. §§
 8.01-328.1(A)(1), (A)(3), and (A)(4) of the Virginia Code. Section 8.01-328.1 of the
 Virginia Code is a “single-act” statute, requiring only one transaction in Virginia to
 confer jurisdiction. Peninsula Cruise, Inc. v. New River Yacht Sales, Inc., 257 Va. 315,
 319, 512 S.E.2d 560 (1999).


                                             3
Case 3:18-cv-00645-REP Document 16 Filed 02/22/19 Page 4 of 11 PageID# 140




 agent and co-conspirator, George, maintain sufficient minimum contacts with Virginia so

 as not to offend “traditional notions of fair play and substantial justice.” Int’l Shoe Co. v.

 Washington, 326 U.S. 310, 316 (1945) (quoting Milliken v. Meyer, 311 U.S. 457, 463

 (1940)).

        1.      Due Process Standard

        The requirements of the Due Process clause can be met through establishing

 either specific or general jurisdiction. Specific jurisdiction exists where the controversy

 at issue arises out of sufficient contacts with the state to make the exercise of jurisdiction

 reasonable. See Helicopteros Nacionales de Colombia v. Hall, 466 U.S. 408, 414-415

 (1984). Alternatively, general jurisdiction can exist, even where a claim does not arise

 from a defendant’s interactions with the state, where she has sufficient continuous and

 systematic contacts with the state to satisfy Due Process. Id. General jurisdiction exists

 when a defendant’s “affiliations with the State are so ‘continuous and systematic’ as to

 render [her] essentially at home in the forum State.’” Daimler AG v. Bauman, 134 S. Ct.

 746, 760 (2014) (quoting Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S.

 915, 919 (2011)).

                a.      General Jurisdiction

        Steve alleges that Diane’s contacts with Virginia were and are continuous and

 systematic. Specifically, Steve alleges that Diane owns real property located in the City

 of Richmond, Virginia, which she uses as an office and residence, that she keeps her car

 in Richmond, Virginia, which she allows George to drive when he is in Richmond

 conducting the apartment building business. Steve highlights the fact that Richmond,

 Virginia, is Diane’s second home. Steve further claims that Diane has been physically




                                               4
Case 3:18-cv-00645-REP Document 16 Filed 02/22/19 Page 5 of 11 PageID# 141




 present in Virginia on numerous occasions; that Diane has had numerous

 communications with George over the last ten (10) years while George has been

 physically present in Virginia conducting apartment building business; that George has

 been physically present in Richmond, Virginia, at least six (6) times a year in connection

 with the properties and business at issue in this case; that Diane has actively participated

 in the renovation and repair of the properties at issue, including 509 N. Meadow Street,

 Richmond Virginia, allowing George to use her personal property (car and architect’s

 drafting table) located in Richmond, Virginia, and her interior decorator’s license and

 companies (Evans Gratz Designs) to make discounted purchases for building materials

 and furnishings in the Commonwealth of Virginia; and that Diane has actively assisted

 George in the management and operation of the apartments in Virginia that were

 formerly the subject of Steve and George’s agreements. In addition to her contacts

 related to Steve’s claims of tortious interference and conspiracy, Steve alleges that Diane

 has owned multiple parcels of real estate in Richmond over the years, which she has

 renovated and sold. Further, Steve points to the fact that Diane has been Director of the

 Elizabeth Evans Gallery which, according to Diane’s published LinkedIn profile, clearly

 does business in “Richmond, Virginia”. [https://www.linkedin.com/in/diana-gratz-

 42952630/]. [Amended Complaint, ¶¶ 2, 4, 40]. 2

        Diane admits that she currently owns property in the City of Richmond, Virginia;

 admits that she has had numerous communications with George over the last ten (10)



        2
                This Opposition is supported by the Declaration of Stephen C. Gratz,
 attached as Exhibit “A”. A true copy of Diane’s current LinkedIn profile is attached
 hereto as Exhibit “B”. In her unsworn declaration [ECF No. 13-1, ¶ 6(b)], Diane
 attempts to blame the express reference to “Richmond, Virginia” in Diane’s LinkedIn
 profile on a “marketing advisor”.


                                              5
Case 3:18-cv-00645-REP Document 16 Filed 02/22/19 Page 6 of 11 PageID# 142




 years while George has been physically present in Virginia; admits that George has been

 physically present in Richmond at least six (6) times a year; admits that she has allowed

 George to use her car, which, together with other personal property, she keeps in the City

 of Richmond, Virginia; and admits that she has owned multiple parcels of real estate in

 Richmond over the years. [Answer, ¶ 2, Sentence 2; ¶ 2, Sentence 4; ¶ 2, Sentence 5; ¶

 4(a); ¶ 4(b); ¶ 5(b); ¶ 20; ECF No. 13-1 (Unsworn Declaration of Diane Gratz); ECF

 No. 13-3 (Deeds to Real Estate)].         Diane also admits that venue is proper in the

 Richmond Division of the United States District Court for the Eastern District of

 Virginia. [Id., ¶ 5(a)].    Since venue is based upon 28 U.S.C. § 1391(b)(2), Diane

 necessarily admits that a “substantial part of the events or omissions giving rise to the

 claim occurred, or a substantial part of property that is the subject of the action is

 situated” within the Eastern District of Virginia. 3

        Viewing the facts in a light most favorable to Steve, Diane clearly has continuous

 and systematic contacts with Virginia, including the ownership of real property since

 December 2014, sufficient to establish general jurisdiction.

        3
                 Although beyond the scope of Diane’s motion, Steve would also point out
 that the release and settlement agreement, attached to Diane’s answer as Exhibit A [ECF
 No. 15], contains the following choice of law provision:




 In the release and settlement agreement, Steve did not release any claims against Diane,
 and, indeed, Diane does not raise the legal defense of accord and satisfaction or release as
 to her in her responsive pleading pursuant to Rule 8(c) (“In responding to a pleading, a
 party must affirmatively state any avoidance or affirmative defense, including … accord
 and satisfaction … release”). [See Answer, ¶¶ 29- (Affirmative and Other Defenses)].


                                                6
Case 3:18-cv-00645-REP Document 16 Filed 02/22/19 Page 7 of 11 PageID# 143




                b.     Specific Jurisdiction

        In determining whether specific jurisdiction exists, a Court looks to: (1) the extent

 to which the defendant has purposely availed herself of the privilege of conducting

 activities in the state; (2) whether the plaintiff’s claims arise out of those activities

 directed at the state; and (3) whether the exercise of personal jurisdiction would be

 Constitutionally “reasonable.” New Wellington, 328 F.2d at 618; ALS Scan, Inc. v. Digital

 Serv. Consultants, Inc., 293 F.3d 707, 712 (4th Cir. 2002) (citing Helicopteros Nacionales

 de Columbia, S.A., 466 U .S. at 414 & nn. 8-9 (1984)). With respect to the first factor,

 “no clear formula [exists] for determining what constitutes ‘purposeful availment.’”

 Reynolds Foil, Inc., 2010 WL 1225620, at *2.         The Court, however, may consider

 whether the defendant maintains offices or agents in the forum state; whether the

 defendant reached into the forum state to solicit or initiate business; whether the

 defendant deliberately engaged in significant or long-term business activities in the forum

 state; whether the defendant made in-person contact with a resident of the forum in the

 forum state regarding the business relationship; the nature, quality, and extent of the

 parties’ communications about the relevant transactions. See Consulting Eng’rs Corp. v.

 Geometric Ltd., 561 F.3d 273, 278 (4th Cir. 2009) (internal citations omitted). The

 second prong of the test for specific jurisdiction “requires that the defendant’s contacts

 with the forum state form the basis of the suit. Burger King, 471 U.S. at 472;

 Helicopteros Nacionales de Columbia, S.A., 466 U.S. at 414. The third prong of the

 specific jurisdiction test permits a court to consider additional factors to ensure the

 appropriateness of the forum once it has determined that a defendant has purposefully

 availed itself of the privilege of doing business there.      Specifically, the court may




                                               7
Case 3:18-cv-00645-REP Document 16 Filed 02/22/19 Page 8 of 11 PageID# 144




 consider: (1) the burden on the defendant of litigating in the forum; (2) the interest of the

 forum state in adjudicating the dispute; (3) the plaintiff’s interest in obtaining convenient

 and effective relief; (4) the shared interest of the states in obtaining efficient resolution of

 disputes; and, (5) the interests of the states in furthering substantive social policies.

 Burger King, 471 U.S. at 477.

        Again, viewing the facts in the light most favorable to Steve, the complaint

 alleges that Diane, directly or by an agent and co-conspirator in Virginia (George),

 purposefully caused tortious injury in Virginia, including the loss of valuable

 contract/property rights. The maintenance of this action, therefore, does not offend

 traditional notions of fair play and substantial justice. See, e.g., Verizon Online Services,

 Inc. v. Ralsky, 203 F.Supp.2d 601 (E.D. Va. 2002) (“Defendants Ralsky, McDonald and

 Additional Benefits are alleged to have been involved in a conspiracy to transmit the

 UBE at issue here. See Ethanol Partners Accredited v. Wiener, Zuckerbrot, Weiss &

 Brecher, 635 F. Supp. 15, 18 (E.D. Pa. 1995) (“When co-conspirators have sufficient

 contacts with the forum, so that due process would not be violated, it is imputed against

 the 'foreign' co-conspirators who allege there is [sic] not sufficient contacts; co-

 conspirators are agents for each other.”)); International Bancorp v. Societe Des Bains De

 Mer, 192 F. Supp.2d 467, 477 (E.D. Va. 2002) (piercing the corporate veil is a

 permissible means of conferring jurisdiction in a forum over the alter ego of a company

 that is subject to jurisdiction in the forum); Krantz v. Air Line Pilots, 245 Va. 202, 427

 S.E.2d 326 (1993) (entry of message on computer in New York with the knowledge that

 persons in Virginia would transmit negative comments about the plaintiff and thereby

 interfere with plaintiffs prospective employment subject New York resident to personal




                                                8
Case 3:18-cv-00645-REP Document 16 Filed 02/22/19 Page 9 of 11 PageID# 145




 jurisdiction in Virginia); iDefense, Inc. v. The Dick Tracy Group, 58 Va. Cir. 138 (2002)

 (Hudson, J.) (the fact that the defendants were physically present elsewhere when they

 completed the alleged torts does not divest the Court of jurisdiction); North Fork

 Shenandoah, Inc. v. Bunning, 7 Va. Cir. 327 (1986) (Whiting, J.) (same).

        In North Fork Shenandoah, Inc. v. Bunning, the Circuit Court determined that a

 California resident was subject to personal jurisdiction in Virginia. Then-Judge Whiting

 ruled that the plaintiff had alleged a conspiracy between the defendants to breach an

 employment contract by acts of disloyalty in Virginia. Accordingly, the non-resident,

 who had never set foot in state, was subject to personal jurisdiction because he “has acted

 in Virginia through [his] agent … a co-conspirator.” (citing Neilson v. Sal Martorano,

 319 N.Y. Supp.2d 480, 481 (1971) (non-resident defendant conspired with her brother to

 effect fraudulent conveyances in New York)); see id. Kohler Co. v. Kohler Int’l, 196 F.

 Supp.2d 690 (N.D. Ill. 2002) (Court may assert jurisdiction over all of the coconspirators,

 both resident and non-resident, based on their involvement in a conspiracy which

 occurred within the forum); Motorola Credit Corporation v. Nokia Corporation, 2002

 WL 31319932 (S.D.N.Y. 2002) (given the joint conspiracy, this is more than sufficient to

 subject all the defendants to personal jurisdiction pursuant to the long-arm statute);

 Dodson International Parts, Inc. v. Altendorf, 181 F. Supp.2d 1248 (D. Kan. 2001)

 (same); General Motors Corporation v. Ignacio Lopez De Arriortua, 948 F.Supp. 656

 (E.D. Mich. 1996) (acts of foreign automaker’s employees were attributed to their alleged

 co-conspirators); Ghazoul v. International Management Serv., Inc., 398 F. Supp. 307

 (S.D.N.Y. 1975); see also Santa Fe Technologies, Inc. v. Argus Networks, Inc., 42 P.3d

 1221 (2002) (plaintiff presented prima facie evidence that the non-resident defendant had




                                             9
Case 3:18-cv-00645-REP Document 16 Filed 02/22/19 Page 10 of 11 PageID# 146




  knowledge of, and participated in, an alleged agreement to intentionally interfere with the

  plaintiffs contracts); Execu-Tech Business Systems, Inc. v. New ani Paper Co., 752 So.2d

  582 (Fla. 2000) (foreign defendant, who sold no goods and had no office in the United

  States and directed no conduct towards forum, was nonetheless subject to personal

  jurisdiction in Florida because of acts of co-conspirator); Rudo v. Stubbs, 221 Ga.App.

  702,472 S.E.2d 515 (1996) (in-state acts of resident co-conspirator may be imputed to a

  non-resident co-conspirator to satisfy jurisdictional requirements) (numerous citations

  omitted).

         Finally, given her significant contacts with Virginia, the exercise of personal

  jurisdiction over Diane would not be unreasonable. She owns property in Virginia. The

  apartment buildings at issue are located in Richmond, Virginia. Diane admits that this is

  the proper venue for the case.

                     CONCLUSION AND REQUEST FOR RELIEF

         For the reasons stated above, Steve respectfully requests the Court to deny

  Diane’s motion to dismiss.



  DATED:         February 22, 2019



                               Signature of Counsel on Next Page




                                              10
Case 3:18-cv-00645-REP Document 16 Filed 02/22/19 Page 11 of 11 PageID# 147




                               STEPHEN C. GRATZ



                               By:     /s/ Steven S. Biss
                                       Steven S. Biss (VSB # 32972)
                                       300 West Main Street, Suite 102
                                       Charlottesville, Virginia 22903
                                       Telephone:      (804) 501-8272
                                       Facsimile:      (202) 318-4098
                                       Email:          stevenbiss@earthlink.net

                                       Counsel for the Plaintiff




                              CERTIFICATE OF SERVICE

         I hereby certify that on February 22, 2019 a copy of the foregoing was filed

  electronically using the Court’s CM/ECF System, which will send notice to counsel for

  all parties, and was served electronically in PDF upon counsel for the Defendant.




                               By:     /s/Steven S. Biss
                                       Steven S. Biss (VSB # 32972)
                                       300 West Main Street, Suite 102
                                       Charlottesville, Virginia 22903
                                       Telephone:      (804) 501-8272
                                       Facsimile:      (202) 318-4098
                                       Email:          stevenbiss@earthlink.net

                                       Counsel for the Plaintiff




                                             11
